These causes involve the construction of Section 4696, General Code, as related to Section 7600-7, General Code. On authority of the case of State, ex rel. Adsmond, v. Board ofEducation of Williams County, ante, 383, this day decided, this court holds that since the petitions of the electors, residing in the territory sought to be transferred, were filed with the county boards of education in time for consideration at the annual meeting of the boards to consider matters relating to the organization plan for the school year 1938-1939, the petitions being otherwise valid, it was the duty of the county boards of education to consider and allow the petitions and approve the transfers.
The judgments of the Court of Appeals are reversed and these causes are remanded to that court for further proceedings in conformity with the decision of this court.
Judgments reversed.
WEYGANDT, C.J., DAY, ZIMMERMAN, WILLIAMS, MYERS, MATTHIAS and HART, JJ., concur. *Page 401 